         Case: 24-2574       Document: 25         Filed: 11/27/2024     Pages: 71



                                 No. 24-2574
                    IN THE UNITED STATES COURT OF APPEALS
                           FOR THE SEVENTH CIRCUIT



    MONICA RICHARDS, individually and on behalf of all other similarly situated
                               individuals,

                                                       Plaintiff-Appellee,
                                            v.

                        ELI LILLY & COMPANY; LILLY USA, LLC,

                                                       Defendants-Appellants.



                On Appeal from the United States District Court for the
                  Southern District of Indiana, Case. No. 1:23-cv-242
                Hon. Tanya Walton Pratt, United States District Judge



                    ANSWERING BRIEF OF PLAINTIFF-APPELLEE



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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    24-2574
Appellate Court No: _______________

               Monica Richards v. Eli Lilly & Co.; Lilly USA, LLC
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Lichten & Liss-Riordan, P.C.
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          ________________________________________________________________________________________________________
          Macey Swanson LLP

(3)       If the party, amicus or intervenor is a corporation:

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          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

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(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           n/a
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          n/a
          ________________________________________________________________________________________________________



                      /s/ Harold L. Lichten
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                                                               Date: ________________________________________

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Attorney’s Printed Name: __________________________________________________________________________________

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           n/a
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          n/a
          ________________________________________________________________________________________________________



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                         Thomas Fowler
Attorney’s Printed Name: __________________________________________________________________________________

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          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          n/a
          ________________________________________________________________________________________________________



                      /s/ Jeffrey A. Macey
Attorney’s Signature: ________________________________________       11/27/2024
                                                               Date: ________________________________________

                         Jeffrey A. Macey
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
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                                     INTRODUCTION

       In Hoﬀmann-La Roche Inc. v. Sperling, 493 U.S. 165, 173–74 (1989), the Supreme

Court held that trial courts have broad case management discretion in determining

whether to provide notice to potential opt-in plaintiﬀs in a collective action brought

under the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. § 621 et seq., or

the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq. Referencing trial courts’

unique expertise in managing their own dockets, the Supreme Court explicitly declined

to mandate a one-size-ﬁts-all procedure for courts to follow before issuing notice.

Hoﬀmann-La Roche, 493 U.S. at 172–74.

       Below, the District Court exercised its discretion and adopted the predominant

two-step approach (often called the “Lusardi” framework, named after Lusardi v. Xerox

Corp., 118 F.R.D. 351 (D.N.J. 1987)) that trial courts have utilized for decades to manage

collective action lawsuits. At step one of this framework, to ensure timely notice to

potential plaintiﬀs and to avoid improperly excluding individuals based on a limited

record, courts only mandate that plaintiﬀs make a modest evidentiary showing that an

unlawful policy that aﬀected similarly situated employees exists. The sole consequence

of granting “conditional certiﬁcation” at step one is sending notice of the lawsuit to

employees; this step “does not produce a class with an independent legal status,”

Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 75 (2013), nor does it “adjudicate any

party’s rights,” In re New Albertsons, Inc., 2021 WL 4028428, at *2 (7th Cir. Sept. 1, 2021).


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At step two of this framework, with the beneﬁt of a fuller record facilitated by discovery

and the presence of opt-in plaintiﬀs, courts determine whether named plaintiﬀs and

opt-in plaintiﬀs actually are, in fact, similarly situated, and course correct as necessary.

       In direct contradiction of the Supreme Court’s mandate in Hoﬀmann-La Roche,

and contrary to decades of trial court expertise, Eli Lilly invites this Court to declare

Lusardi unlawful and mandate that courts require plaintiﬀs to make a “meaningful

evidentiary showing” before notice is issued—in all cases. This Court should decline

such an invitation, for the following reasons:

       First, considering the Supreme Court’s mandate in Hoﬀmann-La Roche that

procedures regarding the issuance of notice shall be left to the sound discretion of trial

courts, Eli Lilly cannot seriously contend that a district court’s decision to adopt the

predominant Lusardi framework violates the law. Indeed, Eli Lilly’s arguments

regarding the purported impropriety of Lusardi are particularly ironic considering that

the Supreme Court in Hoﬀmann-La Roche aﬃrmed a district court decision that, itself,

applied the Lusardi framework. See Sperling v. Hoﬀmann-La Roche, Inc., 118 F.R.D. 392,

405–07 (D.N.J. 1988).

       In an eﬀort to circumvent Hoﬀmann-La Roche’s clear precedent on this issue, Eli

Lilly invokes Bigger v. Facebook, Inc., 947 F.3d 1043, 1050 (7th Cir. 2020), in which this

Court held that in the “speciﬁc situation” where a defendant produces evidence of an

arbitration agreement, courts should provide defendants an “opportunity” to establish,


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by a preponderance of the evidence, the agreement’s existence and validity. But Bigger’s

holding was explicitly cabined to provide courts guidance when presented with

arbitration agreements—a quasi-jurisdictional bar that categorically and unequivocally

prevents employees from proceeding in federal court, regardless of the merits of their

underlying claims. Indeed, this Court in Bigger acknowledged the predominant two-

step approach, but declined to mandate a standard for courts to follow in managing

collective actions. Id. at 1049 n.5. Extending Bigger’s holding and requiring courts to

consider any evidence put forward by defendants of any demonstrated dissimilarities in

the proposed collective as a prerequisite to providing notice would result in courts

making signiﬁcant (often merits-overlapping) factual determinations about absent

plaintiﬀs based on a signiﬁcantly limited record—risking improper exclusion of

potential plaintiﬀs and undermining enforcement of the FLSA and ADEA.

       Eli Lilly further attempts to circumvent Hoﬀmann-La Roche by arguing that the

“modest” evidentiary standard at Lusardi step one does not align with the heightened

standards imposed upon plaintiﬀs who seek class certiﬁcation under Rule 23 or the

issuance of a preliminary injunction. But these analogies between conditional

certiﬁcation and class certiﬁcation or the issuance of a preliminary injunction are

strained. See Genesis Healthcare, 569 U.S. at 74 (“Rule 23 actions are fundamentally

diﬀerent from collective actions . . . .”). Rule 23 certiﬁcation creates a class with an

independent legal status that includes absent individuals whose due process rights


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must be carefully guarded, while a preliminary injunction is an extraordinary, drastic

remedy that can require mandatory actions with lasting, real-world eﬀects. Conditional

certiﬁcation, on the other hand, merely provides notice of a lawsuit. It is therefore

sensible that courts impose a more modest evidentiary burden on plaintiﬀs at the

conditional certiﬁcation stage, especially when considering the remedial purposes of the

FLSA and the ADEA.

       Second, as four decades of trial court experience have indicated, the Lusardi

framework is often an eﬀective case management tool in collective actions. In FLSA

actions, where a plaintiﬀ’s ﬁling of a collective action does not toll the Act’s statute of

limitations for similarly situated employees who later opt in, see 29 U.S.C. § 256(b),

Lusardi’s modest burden at step one ensures that notice is provided in a timely manner,

before potential plaintiﬀs’ claims expire. And in both FLSA and ADEA actions, courts

ﬁnd the Lusardi framework prudent because weighing the evidence or making critical

factual decisions at the notice stage of litigation—when the factual record may be

signiﬁcantly lopsided or incomplete—would result in improperly excluding viable

plaintiﬀs.

       The Lusardi framework is particularly sensible when proceeding over ADEA

claims of discrimination, where the scope of the collective can eﬀectively be deﬁned by

referencing a common adverse employment action (e.g., denial of promotion), and

where engaging in a more searching inquiry of the individualized circumstances


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surrounding each potential plaintiﬀ would improperly determine the merits of claims

that are not before the court. Further, contrary to Eli Lilly’s assertions, the early notice

facilitated by the Lusardi framework beneﬁts judicial economy by allowing district courts

to “ascertain[] the contours of the action at the outset”; “avoid[] a multiplicity of

duplicative suits”; set deadlines for opt-in consents and other decisions “to expedite

disposition of the action”; and prevent the parties from abusing the collective

mechanism through misleading communications to potential plaintiﬀs. See Hoﬀmann-La

Roche, 493 U.S. at 171–72.

       Eli Lilly’s condemnations of the Lusardi approach amount to little more than

fearmongering. To contend that Lusardi is bad policy (overriding the sound judgment of

district judges who have found it beneﬁcial for decades), Eli Lilly claims that the

framework has resulted in an epidemic of decertiﬁcation and undue settlement

pressure. But Eli Lilly bases these arguments on speculation and cherrypicked cases—

the actual evidence on collective actions paints a far less dramatic picture. The data on

collective actions, which shows that decertiﬁcation motions are rare, and evenly split in

outcome when they do occur, provides zero indication that the Lusardi framework is

resulting in a ﬂood of overbroad notice unduly pressuring defendants into settling

unmeritorious cases.

       Plus, it is worth reiterating that even if Lusardi is a bad ﬁt in certain instances, this

Circuit grants trial courts the discretion to make modiﬁcations, or to discard Lusardi


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entirely and adopt a diﬀerent approach. Holding that Lusardi is categorically unlawful

due to the practical diﬃculties presented in certain cases (like Swales v. KLLM Transport

Services, L.L.C., 985 F.3d 430 (5th Cir. 2021), an FLSA case that contained complex factual

issues concerning whether certain groups of employees were “similarly situated”),

would prevent courts from following Lusardi even in cases where the framework is a

good ﬁt.

       This is one such case. Plaintiﬀ Monica Richards alleges that Eli Lilly engaged in

systematic age discrimination, facilitated by companywide policies that prioritized

promoting young professionals at the expense of older, more experienced employees. In

addition to providing aﬃdavits outlining several instances of age discrimination

occurring across the country, Richards also included an aﬃdavit of a longtime manager

at Eli Lilly who directly witnessed top-down implementation of these discriminatory,

companywide promotion policies. The parties stipulated that notice, if issued, shall be

provided only to employees over the age of 40 in Eli Lilly’s sales organization and

brand marketing organization who were denied a promotion for which they were

qualiﬁed.

       By narrowing the collective to only older employees who faced the same adverse

employment action (and, indeed, by narrowing it even further by targeting two internal

organizations), the collective as deﬁned ensures that only “similarly situated”

employees will receive notice. Employing a heightened evidentiary standard in this


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instance—e.g., making merits determinations and weighing evidence concerning

whether potential plaintiﬀs were, in fact, denied promotions due to discrimination—

would essentially amount to prejudging on a limited record the claims of individuals

who are not before the court and have not been provided the opportunity to advocate

for themselves. The framework adopted here—providing notice to employees who

faced the same adverse employment action, and deferring more signiﬁcant factual

decisions to a later stage when the record is more complete—is sensible and equitable.

       And, ﬁnally, even if this Court decides that a heightened evidentiary standard is

warranted in this instance, the District Court’s interlocutory order should still be

aﬃrmed. Though not mandated to do so, the District Court did, in fact, consider Eli

Lilly’s evidence, and it still granted conditional certiﬁcation. In other words, Richards’s

motion has already succeeded on a heightened evidentiary standard that takes the

defendant’s evidence into account.

                           JURISDICTIONAL STATEMENT

       The jurisdictional summary in Defendants-Appellants’ brief is complete and

correct.

                             STATEMENT OF THE ISSUES

1.     Did the District Court abuse its discretion in following the two-step “Lusardi”

       framework for managing a collective action, which imposes on plaintiﬀs a

       modest evidentiary burden before notice is issued and defers weighing the


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       evidence and making merits-based determinations until a later stage in the

       litigation, when the record is developed and potential plaintiﬀs are before the

       court?

                               STATEMENT OF THE CASE

I.     Since at Least 2017, Eli Lilly Has Engaged in a Companywide Eﬀort to Retain
       and Promote Younger Employees to the Detriment of Older, More Experienced
       Employees

       Defendants Eli Lilly & Company and Lilly USA, LLC (collectively, “Eli Lilly”) are

corporations headquartered in Indianapolis, Indiana, that specialize in the

development, manufacturing, marketing, and sales of pharmaceutical products. A.22.

       Plaintiﬀ Monica Richards alleges that Eli Lilly violated the Age Discrimination in

Employment Act (“ADEA”), 29 U.S.C. § 621 et seq. A.21. Eli Lilly’s discriminatory

preferences for younger, Millennial employees have been well documented. On

September 26, 2022, the Equal Employment Opportunity Commission (“EEOC”) ﬁled

suit against Eli Lilly, alleging that it systematically failed to hire older employees as

pharmaceutical sales representatives based on their age. See EEOC v. Lilly USA, LLC,

No. 1:22-cv-01882 (S.D. Ind.); A.97–102 (EEOC Complaint). The EEOC’s suit against Eli

Lilly followed on the heels of a class and collective action ﬁled against Eli Lilly alleging

that it engaged in systematic age discrimination with respect to its hiring practices. See

Grimes v. Eli Lilly & Co., No. 1:21-cv-02367 (S.D. Ind.); A.104–28 (Grimes complaint). The

EEOC’s litigation with Eli Lilly resolved via a consent decree in October 2023, see


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Consent Decree, EEOC v. Lilly USA, LLC, No. 1:22-cv-01882 (S.D. Ind. Oct. 10, 2023),

ECF No. 67, whereas the Grimes lawsuit settled, see Order Directing Filing of Documents

Authorizing Dismissal, Grimes v. Eli Lilly & Co., No. 1:21-cv-02367 (S.D. Ind. Aug. 17,

2023), ECF No. 94.

       Eli Lilly’s companywide age bias has extended beyond the discriminatory hiring

practices detailed in the EEOC and Grimes lawsuits. Eli Lilly has also systematically

favored younger employees for promotions over well-qualiﬁed older employees. This

systematic discrimination is described in the aﬃdavit of James Sweeney, who has spent

the last 20+ years as an Executive Business Director in Eli Lilly’s Diabetes Business Unit,

and who has personally attended meetings where such discriminatory policies were

discussed. See A.31–35 (Sweeney aﬃdavit).

       Starting in or around 2012, Eli Lilly began to pilot a program called “early

identiﬁed talent,” which encouraged managers to bypass the company’s existing

“competency” model and promote new employees with minimal or no experience.

A.32. Mr. Sweeney observed this program gain momentum over the next few years,

growing commensurately with Eli Lilly’s emphasis on hiring and supporting “Early

Career Professionals”—workers with two years or less of postgraduate experience. Id.

Recruiting, retaining, and promoting Early Career Professionals became part of more

senior employees’ performance planning objectives. A.33.




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        Soon after the Early Career Professionals initiative was rolled out in or around

2016, Mr. Sweeney noticed that developing and promoting new employees with just a

year or two of experience had become the dominant focus of Eli Lilly’s biannual Human

Resource Planning Meetings. Id. Indeed, Early Career Professionals with just 18 months’

experience were prioritized over veteran sales representatives for various promotions.

A.33–34. Eli Lilly also directed ample resources and mentorship opportunities at young

employees, while older employees who wished to advance in the company received

minimal support. Id.

II.     Eli Lilly Discriminates Against Plaintiﬀ Monica Richards on the Basis of Age
        by Denying Her a Promotion in Favor of an “Early Career Professional” with
        Minimal Experience

        Plaintiﬀ Monica Richards fell victim to Eli Lilly’s companywide age bias. See

A.37–40 (Richards aﬃdavit). Richards was a member of the Boston Primary Care

District team, a subset of Eli Lilly’s Diabetes Business Unit. A.37. In the summer of 2022,

Richards applied for the position of District Sales Manager of Boston—the same

position she had successfully been occupying on an interim basis for nearly six months.

A.38.

        A few days after Ms. Richards interviewed for the position, she was informed on

a video call that she was not selected for the role. A.39. Richards learned that Eli Lilly

had selected Gabriella McClure—who was in her late 20s, and who joined Eli Lilly

through the Early Career Professionals initiative—to ﬁll the role. A.39–40. Richards and


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her colleagues were shocked; of the ten area managers on the call, seven of them

messaged her during the announcement, expressing both surprise at the decision and

appreciation for the work she had done as interim leader. A.39.

III.   Richards Files Suit Against Eli Lilly Under the ADEA and Moves to Provide
       Notice to Similarly Situated Employees

       On February 7, 2023, Richards ﬁled a complaint in federal court alleging that Eli

Lilly discriminated against her on the basis of age, in violation of the ADEA and state

law. See A.21–29. Richards’s complaint alleges, inter alia, that Eli Lilly systematically

violated the ADEA by knowingly and willfully denying promotions to qualiﬁed

employees who are older than 40, while disproportionately promoting younger

employees. A.26–27. Richards brought her ADEA claim on behalf of herself and

similarly situated employees who may choose to opt in to the lawsuit via 29 U.S.C.

§ 626(b). A.27.

       Pursuant to the procedure that was upheld by the Supreme Court in Hoﬀmann-La

Roche, Richards moved for the District Court to “conditionally certify” a collective and

provide notice to similarly situated employees who may wish to “opt in” to her ADEA

lawsuit against Eli Lilly as plaintiﬀs. See ECF No. 42 (motion for conditional

certiﬁcation). In support of her motion, Richards provided ample evidence that there

exists a class of similarly situated employees who have been subject to common policies

and practices that resulted in systematic age discrimination at Eli Lilly.



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       For instance, Richards included with her motion an aﬃdavit from James

Sweeney, who, as noted above, observed senior leadership discriminating against older

employees, as well as executives directing and incentivizing that discrimination. See

generally A.31–35. And, in addition to providing an aﬃdavit relaying her own

experience facing Eli Lilly’s systematic age discrimination, A.37–40, Richards also

provided aﬃdavits from two other current or former Eli Lilly employees who had

similar experiences.

       One of these employees is Herold Oluoch, who joined Eli Lilly as a Senior

Scientist in 2013 and works at Eli Lilly’s Research Laboratories in Indianapolis. See

A.42–43 (Oluoch aﬃdavit). Mr. Oluoch had only received outstanding performance

reviews during his ten years at the company, and he was even named one of the top 100

Eli Lilly Innovators of the Year in 2022. A.43. Even with his exceptional track record and

the support of his supervisor, Mr. Oluoch has not been promoted since joining Eli Lilly.

Id. Instead, Eli Lilly has passed him over for promotion in favor of an Early Career

Professional at least eight times. Id.

       Richards also included an aﬃdavit from Christina Sosa, a former Eli Lilly

employee based out of Florida who was also subjected to Eli Lilly’s discriminatory

practices. See A.45–47 (Sosa aﬃdavit). Ms. Sosa started as a Sales Representative in the

Diabetes Business Unit in August 2000 and became an Executive Sales Representative in

2006. A.45. In September 2017, Ms. Sosa started working for Jay Gabbe, who almost


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exclusively hired Early Career Professionals from outside the company. A.46. Even

though Mr. Gabbe had informed Ms. Sosa that performance reviews were grounded in

each employee’s sales numbers, he ultimately advocated for the promotion of a team

member about 20 years younger than Ms. Sosa who had the lowest sales numbers on

the team. Id. As a result of the age discrimination she faced, Ms. Sosa was constructively

discharged from Eli Lilly in November 2021. A.47.

       Richards also referenced the EEOC and Grimes lawsuits in her motion, since

courts may consider prior, similar cases against the same defendant in deciding the

issue of collective action conditional certiﬁcation. See Heath v. Google Inc., 215 F. Supp.

3d 844, 853–55 (N.D. Cal. 2016); Lancaster v. FQSR, 2020 WL 5500227, at *6 (D. Md. Sept.

11, 2020) (collecting cases).

IV.    The District Court, Exercising Its Discretion to Adopt the Well-Established
       Two-Step Procedure for Managing Collective Actions, Grants Richards’s
       Motion for Conditional Certiﬁcation

       On March 25, 2024, the District Court granted Richards’s motion to conditionally

certify an ADEA collective and send notice to potential opt-in plaintiﬀs. See RSA.1–20

(order granting motion). Though not mandated by statute or binding authority to do so,

the District Court opted to follow the two-step procedure for managing Richards’s

collective action that is widely used throughout the Seventh Circuit and in district

courts across the country. RSA.6; see New Albertsons, 2021 WL 4028428, at *1.




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      Adhering to this tried-and-true two-step approach, the District Court determined

that Richards provided suﬃcient evidence at step one to establish that there are

potential plaintiﬀs who, like Richards, were victims of a common policy or plan that

violated the law. RSA.14. The District Court ﬁrst took note of the evidence that Richards

had provided supporting the existence of similarly situated individuals. RSA.7. Given

the totality of Richards’s evidence, including Mr. Sweeney’s description of a

companywide departure from strict promotion requirements in favor of an “early

identiﬁed talent” program, the District Court found it reasonable to conclude that there

exists a class of older Eli Lilly employees who “suﬀered the same or similar plight” as

(and are “similarly situated” to) Richards, Sosa, Oluoch, and the individuals described

by Sweeney. RSA.9–10.

      The District Court further held that Richards suﬃciently identiﬁed evidence of a

common policy or plan of discriminatory promotions. RSA.13. As the District Court

explained, Richards supported her allegations of age discrimination with “detailed

aﬃdavits” providing evidence of a common policy or plan of discriminatory promotion

practices at Eli Lilly. RSA.12. And the fact that Richards, Sosa, and Oluoch, who each

worked in diﬀerent geographic areas, similarly experienced discriminatory promotion

practices demonstrated “an overarching—i.e., companywide—plan, threading together

instances of age bias in promotion.” RSA.12–13 (internal record citation omitted).




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       Accordingly, the District Court granted Richards’s motion for conditional

certiﬁcation and authorized notice to potential opt-in plaintiﬀs. RSA.19. Shortly after the

District Court granted conditional certiﬁcation, Eli Lilly moved for the District Court to

certify an interlocutory appeal pursuant to 28 U.S.C. § 1292(b). ECF No. 88. A Seventh

Circuit panel, following a petition for rehearing, ultimately granted Eli Lilly’s petition

for permission to appeal. A.20.

       The District Court originally authorized notice to a collective consisting of “[a]ll

Eli Lilly employees who were 40 or older when they were denied promotions for which

they were qualiﬁed, since February 12, 2022.” RSA.2. However, during the pendency of

this appeal, the parties jointly stipulated to signiﬁcantly narrow the collective. ECF No.

135 at 1–2. Speciﬁcally, the parties agreed that “any notice issued in this case should be

limited to current and former United States employees who were 40 or older when they

were denied a promotion for which they were qualiﬁed in Defendants’ Sales

Organization and Lilly USA, LLC’s Brand Marketing Organization . . . between

February 12, 2022, and March 25, 2024.” Id.

                              SUMMARY OF ARGUMENT

       The District Court did not abuse its discretion in deciding to adhere to the two-

step Lusardi framework for managing an ADEA collective action, which imposes a

modest evidentiary burden on plaintiﬀs before notice is issued to employees.




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       First, a court’s decision to follow Lusardi—or an alternative framework, for that

matter—clearly does not violate the law. The text of the FLSA and the ADEA make no

mention of “conditional certiﬁcation,” nor do they mandate that courts follow a

uniform process in deciding whether notice should be issued. The Supreme Court in

Hoﬀmann-La Roche, 493 U.S. at 171–74, explicitly held that trial courts retain broad case

management discretion in proceeding over collective actions, and that discretion

includes the decision to issue notice. Handcuﬃng courts to a uniform standard, to be

applied in all cases regardless of the circumstances, would violate the Supreme Court’s

directive.

       This Court’s decision in Bigger, 947 F.3d 1043, does not compel a diﬀerent result.

Bigger provides guidance to courts when faced with the prospect of issuing notice to

potential plaintiﬀs who may be categorically and unambiguously barred from litigating

in federal court due to the existence of an arbitration agreement, which would clearly be

a waste of judicial resources. Extending Bigger’s explicitly narrow holding and

mandating that courts weigh all evidence at the conditional certiﬁcation stage would

result in signiﬁcant, merits-overlapping decisions being made on a limited record,

which risks erroneous exclusion of viable plaintiﬀs. And, Eli Lilly’s attempts to

analogize conditional certiﬁcation—which merely provides notice and does not

adjudicate any party’s rights or change the nature of the suit—with the much more




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signiﬁcant decisions of Rule 23 class certiﬁcation or the issuance of a preliminary

injunction are strained at best.

       Second, as four decades of trial court experience indicate, Lusardi is a reasonable

framework that is equitable to plaintiﬀs and eﬀectuates the remedial purposes of the

FLSA and the ADEA. In the FLSA context, the “modest” burden at step one ensures that

notice is timely, which prevents opt-in plaintiﬀs’ claims from expiring. And in all

contexts, trial courts have prudently held that it is equitable to abstain from weighing

evidence and making merits determinations at the notice stage, where the record may

be incomplete or lopsided, properly deferring these decisions until a later point in the

litigation with the beneﬁt of a fuller record and the aﬀected parties actually being before

the court.

       In ADEA cases in particular, the scope of proper notice can eﬀectively be

ascertained by deﬁning the collective in terms of adverse employment actions, whereas

determinations about whether individual claimants were, in fact, subjected to

individualized discrimination are more properly determined when these individuals

are before the court and have an opportunity to make their cases. Signiﬁcantly, the

Supreme Court in Hoﬀmann-La Roche explicitly held that early notice, which is

facilitated by the modest evidentiary burden, allows a court to avoid duplicative suits,

expedite disposition, and prevent parties from abusing the collective action mechanism

through misleading communications. 493 U.S. at 171–72.


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       Despite trial courts’ overwhelming endorsement of the Lusardi approach, Eli Lilly

contends that this framework has resulted in a parade of horribles: an epidemic of

overbroad notice, undue settlement pressure, and the undermining of judicial

neutrality. But Eli Lilly cites no evidence of these fears coming to fruition, relying

instead on speculation. The actual evidence, on the other hand, which shows that

decertiﬁcation is uncommon, hardly paints the dramatic picture that Eli Lilly describes.

       There can be little doubt that applying the Lusardi approach makes sense in this

case. Plaintiﬀ Monica Richards alleges that Eli Lilly engaged in companywide practices

of favoring younger, inexperienced employees for promotions at the expense of older

employees, and she supported her motion for conditional certiﬁcation with an aﬃdavit

from a manager who witnessed these companywide practices being implemented from

the top down. The parties stipulated that notice, if issued, will only be provided to

employees aged 40+ in speciﬁc organizations who were denied promotions for which

they were qualiﬁed, which means that the collective has been narrowed to only those

who may have age discrimination claims. Determinations regarding which employees

were, in fact, subjected to individual instances of discrimination should be deferred to a

stage in the litigation where the court can beneﬁt from a full record and the appearance

of the aﬀected individuals before the court.

       Finally, it is worth noting that the District Court below did, in fact, weigh—and

ﬁnd insuﬃciently compelling—Eli Lilly’s evidence. Therefore, even if this Court ﬁnds


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that a heightened evidentiary standard is warranted in this case, the Court may still

aﬃrm the District Court’s interlocutory order.

                                STANDARD OF REVIEW

       This Court “review[s] a district court’s management of a collective action—

including the facilitation of notice—for abuse of discretion.” Bigger, 947 F.3d at 1048.

                                      ARGUMENT

I.     Under Controlling Supreme Court Precedent, District Courts Have Wide Case
       Management Discretion in Determining Whether Notice Should Be Issued in a
       Collective Action

       Section 626(b) of the ADEA expressly incorporates the “opt in” mechanism of the

FLSA, 29 U.S.C. § 216(b). This mechanism provides claimants the right to bring an FLSA

or ADEA action individually and on behalf of “other employees similarly situated.”

Hoﬀmann-La Roche, 493 U.S. at 170 (quoting 29 U.S.C. § 216(b)).

       The right for claimants to pursue collective actions under the FLSA and the

ADEA is integral to the enforcement of each statute. The FLSA, for instance, was passed

by Congress to “aid the unprotected, unorganized and lowest paid of the nation’s

working population,” that is, “those employees who lacked suﬃcient bargaining power

to secure for themselves a minimum subsistence wage.” Brooklyn Sav. Bank v. O’Neil, 324

U.S. 697, 707 n.18 (1945). Due to the “enforcement gap” that exists when employers can

skirt legal obligations due to the infeasibility of employees pursuing low-value claims

on an individual basis, the collective action mechanism ensures that Congress’s


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remedial goals in enacting the FLSA are vindicated. See Epic Sys. Corp. v. Lewis, 584 U.S.

497, 550–52 (2018) (Ginsburg, J., dissenting).

       By incorporating § 216(b) of the FLSA into the ADEA, Congress stated its policy

that ADEA plaintiﬀs should similarly beneﬁt from collective enforcement. See Hoﬀmann-

La Roche, 493 U.S. at 170. As the Supreme Court recognized in Hoﬀmann-La Roche, “[a]

collective action allows age discrimination plaintiﬀs the advantage of lower individual

costs to vindicate rights by the pooling of resources.” Id. In other words, Congress’s

incorporation of the FLSA’s collective action mechanism ensures that the “broad

remedial goal” of the ADEA can be enforced “to the full extent of its terms.” Id. at 173.

       While the FLSA and the ADEA provide for a collective action mechanism, these

statutes make no mention of “conditional certiﬁcation,” nor do they prescribe a

standard process for district courts to follow in managing collective actions. Over the

past four decades, however, district courts throughout the country have widely

endorsed a framework for managing collective action lawsuits derived from the case

Lusardi v. Xerox Corp., 118 F.R.D. 351 (D.N.J. 1987).

       Under the Lusardi approach, courts undertake a two-step process to determine

whether plaintiﬀs in a collective action are similarly situated. At the ﬁrst step, plaintiﬀs

must make a “modest factual showing suﬃcient to demonstrate that they and potential

plaintiﬀs together were victims of a common policy or plan that violated the law.” New

Albertsons, 2021 WL 4028428, at *1 (internal quotation omitted). The purpose of this step


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is not to prejudge the merits of the action, but is rather for the court to determine

whether “similarly situated” plaintiﬀs do, in fact, exist. See Myers v. Hertz Corp., 624 F.3d

537, 555 (2d Cir. 2010). Accordingly, courts applying the Lusardi approach generally do

not “make merits determinations, weigh evidence, determine credibility, or speciﬁcally

consider opposing evidence presented by a defendant” at step one. Bergman v. Kindred

Healthcare, Inc., 949 F. Supp. 2d 852, 855–56 (N.D. Ill. 2013).

       While Lusardi step one imposes a relatively modest burden on plaintiﬀs, it is not

without teeth; plaintiﬀs cannot meet this burden by providing “vague, uncorroborated,

conclusory hearsay.” Boyd v. Alutiiq Glob. Sols., LLC, 2011 WL 3511085, at *6 (N.D. Ill.

Aug. 8, 2011). Instead, plaintiﬀs must provide aﬃdavits, declarations, or other

evidentiary support based on personal knowledge showing that there are similarly

situated employees subject to a common unlawful policy. Id.; Williams v. Angie’s List,

Inc., 223 F. Supp. 3d 779, 783 (S.D. Ind. 2016). If plaintiﬀs meet this burden, courts will

authorize notice of the case to similarly situated employees, who may opt in as

plaintiﬀs. New Albertsons, 2021 WL 4028428, at *1.

       At Lusardi’s second step, after employees have opted in and discovery has taken

place, the court will reevaluate “conditional certiﬁcation” and determine on a fuller

record whether there is suﬃcient similarity among the named and opt-in plaintiﬀs in

the collective action. Id. The court may permit the matter to proceed to trial on a

collective basis, or it may revoke conditional certiﬁcation or divide the collective into


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subclasses. Id.

       In Hoﬀmann-La Roche, the Supreme Court addressed a lower court decision that

applied the Lusardi two-step approach to an ADEA collective action lawsuit, and it held

that providing notice to potential opt-in plaintiﬀs is an acceptable exercise of a district

court’s broad case management discretion. 493 U.S. at 173–74; see Sperling, 118 F.R.D. at

405–07.

       At the outset, the Court acknowledged the “propriety, if not the necessity,” for

courts to intervene in the notice process for ADEA collective actions. Hoﬀmann-La Roche,

493 U.S. at 170. As the Court explained, Congress’s stated policy of permitting age

discrimination plaintiﬀs to pool their resources and vindicate their rights depends “on

employees receiving accurate and timely notice concerning the pendency of the

collective action, so that they can make informed decisions about whether to

participate.” Id.

       Critically, the Court explicitly declined to prescribe a uniform standard or

process for courts to follow when considering whether to provide notice to potential

opt-in plaintiﬀs. Instead, the Court opted to “conﬁrm the existence of the trial court’s

discretion, not the details of its exercise.” Id. In so holding, the Court made abundantly

clear that procedures surrounding notice are best left to the discretion of experienced

trial court judges. Id. at 171–73.




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       In support of its holding, the Supreme Court invoked trial courts’ broad case

management authority under the Federal Rules of Civil Procedure. Id. at 172–73.

Speciﬁcally, the Court held that Rule 83, which provides that judges “may regulate

[their] practice in any manner consistent with federal law,” Fed. R. Civ. P. 83(b),

supports trial courts’ authority to issue notice in a collective action, Hoﬀmann-La Roche,

493 U.S. at 172–73. As the Court explained, “Rule 83 endorses measures to regulate the

actions of the parties to a multiparty suit,” and “[t]his authority is well settled, as courts

traditionally have exercised considerable authority to manage their own aﬀairs so as to

achieve the orderly and expeditious disposition of cases.” Hoﬀmann-La Roche, 493 U.S. at

172–73 (emphasis added) (internal quotation omitted). The Court further held that the

considerable discretion exercised by district courts in this area is reinforced by Rule 16,

which provides courts authority to “adopt[] special procedures for managing

potentially diﬃcult or protracted actions that may involve complex issues[ or] multiple

parties.” Id. at 173; Fed. R. Civ. P. 16(c)(2)(L).

       In sum, Hoﬀmann-La Roche clearly held that a district court’s decision to

“conditionally certify” an ADEA collective action and provide notice is a matter

reserved for the district court’s broad case management discretion pursuant to Rule

83(b). 1 As such, any eﬀort to cabin this discretion, or to provide a one-size-ﬁts-all model


1      The Supreme Court, in reaching this holding, essentially adopted the Seventh
Circuit’s position on this issue. In Woods v. New York Life Insurance, 686 F.2d 578, 580 (7th
Cir. 1982), this Court held that a district court’s authority over collective actions,
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for district courts to follow in determining whether notice should be provided,

contravenes the Supreme Court’s mandate.

       Since Hoﬀmann-La Roche, trial courts throughout the nation have predominantly

opted to follow the Lusardi two-step approach to managing collective actions. In fact, up

until recently, the two-step approach had been endorsed by every circuit that had

considered it. See Campbell v. City of Los Angeles, 903 F.3d 1090, 1110 (9th Cir. 2018); 2

Myers, 624 F.3d at 554–55; Camesi v. Univ. of Pittsburgh Med. Ctr., 729 F.3d 239, 243 (3d

Cir. 2013); White v. Baptist Mem’l Health Care Corp., 699 F.3d 869, 877 (6th Cir. 2012);

Thiessen v. Gen. Elec. Cap. Corp., 267 F.3d 1095, 1105 (10th Cir. 2001); Morgan v. Fam.

Dollar Stores, Inc., 551 F.3d 1233, 1260 (11th Cir. 2008). As the Ninth Circuit explained in

Campbell, there is “good reason for this consensus”; in the absence of any statutory

directive, and especially in light of the Supreme Court’s decision in Hoﬀmann-La Roche,

“the proper means of managing a collective action—the form and timing of notice, the

timing of motions, the extent of discovery before decertiﬁcation is addressed—is largely




including the authority to provide notice, is a managerial responsibility inferred from
Rule 83.

2      In Campbell, the Ninth Circuit disagreed with the Lusardi approach’s test for
determining whether plaintiﬀs are “similarly situated” at the second step, and it
provided a modiﬁcation of that standard. See 903 F.3d at 1114–16. But for step one
(conditional certiﬁcation), courts in the Ninth Circuit still generally utilize Lusardi’s
modest burden of establishing the existence of similarly situated employees and a
common policy or plan. See, e.g., Greene v. Cascadia Healthcare, LLC, 2024 WL 4494902, at
*2–3 (D. Idaho Oct. 15, 2024).
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a question of case management, and thus a subject of substantial judicial discretion.”

903 F.3d at 1110 (internal citation omitted).

       While the Lusardi approach has been widely endorsed, courts of appeals have

nevertheless generally acknowledged that district courts have discretion to follow (or

not follow) Lusardi. See id.; Hipp v. Liberty Nat’l Life Ins., 252 F.3d 1208, 1219 (11th Cir.

2001); Myers, 624 F.3d at 554–55; Thiessen, 267 F.3d at 1105. In other words, even where

courts of appeals have praised the Lusardi approach, district court discretion to manage

collective actions is still the law of the land.

       The Seventh Circuit’s approach to collective action management is no outlier.

This Court has acknowledged the predominant two-step approach, see, e.g., Ervin v. OS

Rest. Servs., Inc., 632 F.3d 971, 974 (7th Cir. 2011), but, citing Hoﬀmann-La Roche, has held

that “[a] district court has wide discretion to manage collective actions,” Alvarez v. City

of Chicago, 605 F.3d 445, 449 (7th Cir. 2010). And, in Bigger, 947 F.3d at 1049 n.5, this

Court clariﬁed that the predominant “two-stage approach” is not required.

       Consequently, trial courts within this Circuit retain discretion to divert from the

Lusardi model if they ﬁnd that it would be an ineﬀective case management tool. See, e.g.,

Fitzgerald v. Forest River Mfg. LLC, 2022 WL 558336, at *4 (N.D. Ind. Feb. 23, 2022);

Laverenz v. Pioneer Metal Finishing, LLC, 2024 WL 3887110, at *9 (E.D. Wis. Aug. 21, 2024).

For example, in cases where some discovery has already been completed at the

conditional certiﬁcation stage, courts within this Circuit have in some instances adopted


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an “intermediate” approach (sometimes referred to as the “modest plus” standard) that

heightens plaintiﬀs’ evidentiary burden. See Hunter v. WirelessPCS Chi. LLC, 2022 WL

864533, at *3 (N.D. Ill. Mar. 23, 2022).

       By declining to impose upon district courts a one-size-ﬁts-all standard for

adjudicating a motion for conditional certiﬁcation, the Seventh Circuit, like most other

circuits, follows the Supreme Court’s clear mandate in Hoﬀmann-La Roche. A district

court’s decision to follow Lusardi’s “modest” evidentiary prerequisite for issuing

notice—or conversely, a district court’s decision to pivot from Lusardi as it sees ﬁt—lies

squarely within its “considerable authority to manage [its] own aﬀairs.” Hoﬀmann-La

Roche, 493 U.S. at 172–73 (internal quotation omitted).

II.    A District Court’s Decision to Apply the Lusardi Framework Does Not Violate
       the Law

       Notwithstanding Hoﬀmann-La Roche’s clear mandate regarding trial courts’

discretion, Eli Lilly argues that a district court’s choice to follow the Lusardi framework

is “indefensible as a matter of law.” Such an argument lacks any legal foundation.

       As noted, the FLSA and ADEA make no mention of “conditional certiﬁcation,”

nor do they provide any guidance as to procedures that must be followed before a court

issues notice to employees. Since the Supreme Court decided Hoﬀmann-La Roche in 1989,

Congress has updated the FLSA in 1996, 2007, and 2010, and it has never provided any

additional guidance on the collective action mechanism. See Clark v. A&L Homecare &

Training Ctr., LLC, 68 F.4th 1003, 1017 & n.5 (6th Cir. 2023) (White, J., dissenting in part)

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(citing updates to the FLSA). Given a dearth of statutory guidance, as well as the

Supreme Court’s explicit preference for trial court discretion in this area, it is

counterintuitive to contend that a district court’s decision to follow the tried-and-true

Lusardi approach contravenes the law. This is especially true considering that the

Supreme Court in Hoﬀmann-La Roche upheld a lower court decision that, itself, applied

the Lusardi framework. See Sperling, 118 F.R.D. at 405–07. As long as courts, when

managing the notice process, take care to respect judicial neutrality and avoid the

appearance of soliciting claims, no legal mandate is violated. Hoﬀmann-La Roche, 493

U.S. at 174.

       Eli Lilly’s attempts to undermine the legality of the Lusardi framework miss the

mark. Eli Lilly ﬁrst argues that the Lusardi framework’s “one-sided procedure,” i.e.,

only considering evidence presented by plaintiﬀs in deciding whether to issue notice,

violates this Circuit’s precedent in Bigger, 947 F.3d 1043. But Eli Lilly overreads Bigger’s

explicitly narrow holding.

       In Bigger, this Court acknowledged that the twin goals of a collective action are

“enforcement and eﬃciency,” and that, as a general matter, “it may be eﬃcient to ﬁrst

send notice to a group of people and then weed out those who opt in but are in fact

ineligible to join.” Id. at 1049–50. However, the Court noted a “speciﬁc situation” in

which overbroad notice would not provide any beneﬁt to a collective action: providing

notice to individuals who are bound by arbitration agreements. Id. at 1050. To avoid


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scenarios in which a court might provide notice to employees who are unambiguously

barred from litigating in court, this Court in Bigger established an analytical framework

for courts to address the existence of arbitration agreements at the conditional

certiﬁcation stage. Namely, this Court held that where a defendant has produced a

mutual arbitration agreement and (1) the claimant does not contest it, or (2) the

defendant can show, by a preponderance of the evidence, the existence and validity of

the arbitration agreement, the district court may not issue notice to that employee. Id.

       Eli Lilly invokes Bigger to argue that defendants must be aﬀorded an

opportunity, at the conditional certiﬁcation stage, to counter a plaintiﬀ’s evidentiary

support in all circumstances. But this Court in Bigger explicitly declined to reach such a

holding, writing, “[o]ur focus is limited to the scope of a court’s discretion in facilitating

notice of an FLSA action to certain employees,” i.e., employees bound by arbitration

agreements. Id. at 1049 n.5 (emphasis added).

       Notwithstanding Bigger’s explicitly cabined holding, Eli Lilly argues that Bigger’s

reasoning should be expanded to mandate that courts consider, as a prerequisite to

notice, any evidence put forward by a defendant of “any demonstrated dissimilarity” in

the proposed collective. Eli Lilly Br. at 21. But the existence of an arbitration agreement

is sui generis; it operates as a quasi-jurisdictional bar to a plaintiﬀ’s claim, divorced from

the factual merits of that claim under the ADEA or FLSA. See Johnson Assocs. Corp. v. HL

Operating Corp., 680 F.3d 713, 718 (6th Cir. 2012). Clearly, as this Court noted in Bigger,


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there is little beneﬁt in providing notice to employees who are unambiguously,

categorically barred from proceeding in federal court. But for employees who are not so

categorically barred, and for reasons discussed in more detail below, the “modest”

evidentiary burden of Lusardi’s ﬁrst step ensures that the court is not, based on a limited

record, undermining enforcement of the FLSA or ADEA by delaying notice or cutting

out employees who may be eligible to opt in.

       Without a legal foothold based on statutory authority, Supreme Court authority,

or this Circuit’s authority, Eli Lilly attempts to establish that the Lusardi approach

violates the law because it does not align with “analogous areas of law.” Eli Lilly Br. at

22. Namely, Eli Lilly argues that Lusardi’s focus on plaintiﬀs’ evidence, deferral of

deciding merits-based issues, and “modest” burden diﬀer from the standards employed

by courts in deciding certiﬁcation of a class action under Federal Rule of Civil

Procedure 23 and the issuance of a preliminary injunction. These analogies, however,

are strained.

       For instance, courts have unambiguously held that Rule 23 has no applicability to

collective actions. Most notably, in Genesis Healthcare, 569 U.S. at 74, the Supreme Court

rejected a party’s eﬀorts to analogize Rule 23 class actions and collective actions under

the FLSA, ﬁnding that “Rule 23 actions are fundamentally diﬀerent from collective

actions.” Consistent with the Supreme Court’s holding, courts of appeals have

repeatedly rejected analogies between Rule 23 and collective actions. See Campbell, 903


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F.3d at 1111–13; Clark, 68 F.4th at 1009; Thiessen, 267 F.3d at 1105; Grayson v. K Mart

Corp., 79 F.3d 1086, 1096 n.12 (11th Cir. 1996); Scott v. Chipotle Mexican Grill, Inc., 954

F.3d 502, 518–19 (2d Cir. 2020); see also 1 Joseph M. McLaughlin, McLaughlin on Class

Actions § 2:16 (21st ed. 2024) (“It is error for a court to equate the requirements of

§ 216(b) with those of Rule 23 in assessing whether named plaintiﬀs are ‘similarly

situated’ to opt-in plaintiﬀs under the FLSA.”).

       Courts reject this analogy for good reason—the language, structure, and legal

eﬀect of Rule 23 and § 216(b) bear little resemblance to one another. Rule 23 provides a

standard for certifying representative parties to proceed to trial on behalf of all

members of a deﬁned class. See Fed. R. Civ. P. 23(a)–(b). Accordingly, many of the rules

speciﬁc to class actions, such as the requirements of adequacy and typicality, have

evolved to protect the due process rights of absent class members. Campbell, 903 F.3d at

1112; Scott, 954 F.3d at 519. Such concerns are simply not present in collective actions,

which are not representative actions. Plaintiﬀs in a collective action must aﬃrmatively

choose to become parties by opting in, and “similarly situated employees who join a[

collective] action become parties with the same status in relation to the claims of the

lawsuit as do the named plaintiﬀs.” Clark, 68 F.4th at 1009 (internal quotation omitted).

       Section 216(b)’s omission of Rule 23’s stringent requirements reﬂects an

aﬃrmative congressional choice to not have Rule 23 standards apply to collective

actions. See Campbell, 903 F.3d at 1113; Thiessen, 267 F.3d at 1105. When Congress


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amended the FLSA by passing the Portal-to-Portal Act in 1947, it introduced the opt-in

requirement for collective actions without incorporating the class action requirements of

Rule 23, which ﬁrst went into eﬀect in 1938. See Campbell, 903 F.3d at 1113 & n.16. Nor

has Congress relied on Rule 23 during the numerous occasions since 1947 in which it

has amended the FLSA. See O’Brien v. Ed Donnelly Enters., Inc., 575 F.3d 567, 584 (6th

Cir. 2009); Clark, 68 F.4th at 1017 (White, J., dissenting in part). This congressional choice

to keep the requirements for Rule 23 and collective actions distinct was recognized and

reinforced by the Advisory Committee on Rules in amending Rule 23 in 1966, which

provided the caveat that “[t]he present provisions of 29 U.S.C. § 216(b) are not intended

to be aﬀected by Rule 23, as amended.” Fed. R. Civ. P. 23, advisory committee’s note to

1966 amendment. Eli Lilly’s attempt to cross the wires between class certiﬁcation and

conditional certiﬁcation therefore contradicts Supreme Court precedent, circuit court

guidance, and congressional intent. 3


3       In Espenscheid v. DirectSat USA, LLC, 705 F.3d 770, 772 (7th Cir. 2013), this Court
wrote that “there isn’t a good reason to have diﬀerent standards for the certiﬁcation of
the two diﬀerent types of action, and the case law has largely merged the standards,
though with some terminological diﬀerences.” This reasoning, however, was
undermined by the Supreme Court’s Genesis Healthcare decision, decided just months
later, which clariﬁed that Rule 23 class actions and collective actions are “fundamentally
diﬀerent.” 569 U.S. at 74. Since Genesis Healthcare, courts have overwhelmingly held that
the requirements for collective actions are “quite distinct” from Rule 23’s requirements,
and, in fact, the Second Circuit recently cited Espenscheid as the only decision suggesting
otherwise. See Scott, 954 F.3d at 518–19.
        Indeed, courts within this Circuit have found Espenscheid diﬃcult to square with
the authoritative consensus on this issue. See, e.g., Ford v. MIJ, Inc., 2021 WL 2134570, at
*2 (N.D. Ind. May 25, 2021) (acknowledging the “outlier” status of Espenscheid); Lee v.
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       Eli Lilly’s attempt to conﬂate class certiﬁcation and conditional certiﬁcation also

makes little sense in light of the starkly diﬀerent legal standards that apply to each

process. Because § 216(b) omits the class certiﬁcation requirements of Rule 23, collective

actions “necessarily impose a lesser burden” than class actions. Campbell, 903 F.3d at

1112. As several other circuits have noted, collective actions impose a lower burden in

some sense than Rules 20 and 42, which provide the “relatively loose” requirements for

permissive joinder and consolidation at trial. See id.; O’Brien, 575 F.3d at 584–85;

Grayson, 79 F.3d at 1096; Scott, 954 F.3d at 520. Unlike Rules 20 and 42, the FLSA and

ADEA do not grant courts discretion to join or consolidate claims, but rather grant a

right for similarly situated employees to proceed collectively. See Campbell, 903 F.3d at

1112; Scott, 954 F.3d at 520. Moreover, Rule 20 requires plaintiﬀs to assert a right to relief

“arising out of the same transaction[ or] occurrence,” Fed. R. Civ. P. 20, a provision with

no analog in the FLSA or ADEA, Campbell, 903 F.3d at 1112; Scott, 954 F.3d at 520. Given

the entirely diﬀerent legal standards in certifying a class action under Rule 23 and

permitting a collective action to proceed, Eli Lilly’s attempts to conﬂate conditional

certiﬁcation and class certiﬁcation are misguided.




Children’s Place Retail Stores, Inc., 2014 WL 5100608, at *5 (N.D. Ill. Oct. 8, 2014) (ﬁnding
that Espenscheid, while potentially relevant at step two of the collective action process,
bears no relevance to conditional certiﬁcation); Reed v. Methodist Health Servs. Corp., 2021
WL 1082010, at *8 (C.D. Ill. Mar. 1, 2021) (referring to Espenscheid’s discussion of this
issue as “dicta”).
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       Furthermore, conﬂating Rule 23 and collective actions is particularly inapposite at

Lusardi step one, i.e., the “conditional certiﬁcation” stage. As the Sixth Circuit noted in

Clark, “conditional certiﬁcation” is a misleading term, as a court’s decision to grant

conditional certiﬁcation “has zero eﬀect on the character of the underlying suit.” 68

F.4th at 1009. The Supreme Court has been clear on this point, holding in Genesis

Healthcare that the “sole consequence of ‘conditional certiﬁcation’” is sending notice to

employees, and that this exercise of a district court’s case management discretion “does

not produce a class with an independent legal status, or join additional parties to the

action.” 569 U.S. at 75. This Court aﬃrmed this conclusion in New Albertsons,

acknowledging that conditional certiﬁcation “does not adjudicate any party’s rights.”

2021 WL 4028428, at *2. Thus, even if Rule 23 and collective actions were analogous,

Rule 23’s class certiﬁcation standard would bear little relevance to a court’s decision to

provide notice at Lusardi step one.

       At bottom, the fact that plaintiﬀs have separate burdens when seeking class

certiﬁcation under Rule 23 and conditional certiﬁcation under the FLSA or ADEA is

eminently reasonable. Granting “conditional certiﬁcation,” unlike granting class

certiﬁcation, does not change the character of the case; the purpose of this step is to

provide timely and eﬃcient notice to those who may be similarly situated, with the

court opting to more thoroughly evaluate the similarities between opt-in plaintiﬀs and

named plaintiﬀs with the beneﬁt of a fuller record and these parties actually being


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before the court. Because providing notice is of limited legal consequence, and because

early notice is often critical in facilitating the remedial goals of the FLSA and the ADEA,

see Hoﬀmann-La Roche, 493 U.S. at 170, it is sensible that courts, in their discretion, often

hold plaintiﬀs to a “modest” evidentiary burden at the conditional certiﬁcation stage.

       For these reasons, this Court should decline to follow the approach adopted by

the Fifth Circuit in Swales, 985 F.3d at 433, which held that court-approved notice may

only be issued to employees who are “actually similar to the named plaintiﬀs,” and only

after the court “rigorously scrutinize[s]” evidence following preliminary discovery.

(emphasis added). As the Sixth Circuit noted in Clark, the Fifth Circuit was overly

concerned with ensuring certainty of the similar situated status of employees before

authorizing court notice. 68 F.4th at 1009–10. This concern appears to stem from a

misunderstanding of Hoﬀmann-La Roche, which, as the Sixth Circuit acknowledged,

likely referenced “potential plaintiﬀs” to describe “employees who—based on a lesser

showing of likelihood—might be similarly situated to the original plaintiﬀs, and who

thus might be eligible to join the suit.” Id. at 1010. Indeed, Hoﬀmann-La Roche aﬃrmed a

district court’s issuance of notice after the district court had expressly held that “notice

to absent class members need not await a conclusive ﬁnding of ‘similar situations.’”

Sperling, 118 F.R.D. at 406. This understanding also better aligns with the language in

Hoﬀmann-La Roche regarding the importance of “timely notice” and early court




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intervention in vindicating the remedial purposes of the FLSA and ADEA, see 493

U.S. at 170–71 (emphasis added), a consideration that the Fifth Circuit ignored entirely.

       As noted above, conditional certiﬁcation merely provides notice—it does not

create a class. At this stage, many courts use the Lusardi approach to facilitate early

intervention in accordance with the Supreme Court’s reasoning in Hoﬀmann-La Roche so

that potential plaintiﬀs’ claims do not expire and to defer delving into fact-bound

decisions until a fuller record has developed. The Fifth Circuit’s quasi-Rule 23 “rigorous

scrutiny” standard delays this process, risks weeding out potentially proper plaintiﬀs

due to incomplete evidence, and undermines enforcement of the FLSA and ADEA.

       Eli Lilly’s comparison between granting conditional certiﬁcation and issuing a

preliminary injunction is similarly strained. As Eli Lilly notes, this analogy was made by

the Sixth Circuit in Clark, which diverted from Hoﬀmann-La Roche’s mandate of trial

court discretion and held that plaintiﬀs should be required to show a “strong

likelihood” that there are similarly situated employees before the court orders notice. 68

F.4th at 1011.

       A court’s decision to grant a preliminary injunction, however, is hardly

comparable to the decision to grant conditional certiﬁcation. This Court has

acknowledged that “[a] preliminary injunction is an extraordinary and drastic remedy.”

Goodman v. Ill. Dep’t of Fin. & Pro. Regul., 430 F.3d 432, 437 (7th Cir. 2005) (internal

quotation omitted); see also Cassell v. Snyders, 990 F.3d 539, 544 (7th Cir. 2021) (“A


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preliminary injunction is an exercise of a very far-reaching power, never to be indulged

in except in a case clearly demanding it.” (internal quotation omitted)). Indeed, the

issuance of a preliminary injunction has been described as “the most striking remedy

wielded by contemporary courts,” as it can “block the enforcement of legislation, place

a candidate on the ballot, forbid strikes, prevent mergers, or enforce a school

desegregation plan,” all without the beneﬁt of a full hearing on the merits. See John

Leubsdorf, The Standard for Preliminary Injunctions, 91 Harv. L. Rev. 525, 525 (1978).

       Comparing conditional certiﬁcation to the extraordinary remedy of a preliminary

injunction strains credulity. Merely providing notice of a lawsuit is a far cry from

issuing a preliminary injunction, which can require mandatory actions from parties for

an indeﬁnite period of time. See Kevin J. Lynch, Preliminary Injunctions in Public Law: The

Merits, 60 Hous. L. Rev. 1067, 1070–74 (2023) (noting the lasting eﬀects of preliminary

injunctions, including the avoidance of irreparable harm, during litigation). Ultimately,

adopting the Clark “strong likelihood” standard, like adopting the Swales standard,

would result in courts prematurely weighing evidence and making critical factual

determinations at a stage where the limited evidence presented by the parties may not

accurately reﬂect the weight of evidence that fuller discovery—and the addition of opt-

in plaintiﬀs as parties—will produce.

       But regardless of the merits of the Lusardi approach, the Fifth Circuit’s approach

in Swales, or the Sixth Circuit’s approach in Clark, it is worth reiterating that any attempt


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to handcuﬀ a district court to a one-size-ﬁts-all model diverges from Hoﬀmann-La Roche.

In this respect, the Fifth Circuit’s consternation over the “imprecision of § 216(b)” is

misplaced. Swales, 985 F.3d at 433. As Hoﬀmann-La Roche indicates, the wide discretion

aﬀorded to district courts in the management of collective actions is a feature, not a bug,

that allows trial courts to utilize their expertise to prudently oversee collective actions

based on the unique circumstances of each case. See 493 U.S. at 172–73. In bringing this

appeal, Eli Lilly is essentially asking this Court to take an area of law that has been

explicitly reserved for trial court discretion under controlling Supreme Court precedent,

and create a new rule out of whole cloth, untethered from a statutory mandate or

controlling precedent to follow. This Court should decline such an invitation. Until and

unless the Supreme Court revisits Hoﬀmann-La Roche, or until and unless Congress

revisits § 216(b), trial court discretion is the law.

III.   The Lusardi Approach Is a Reasonable Method of Managing a Collective
       Action

       Though generally not mandated to do so, trial courts throughout the nation have

widely adopted the tried-and-true Lusardi two-step approach to managing collective

actions. The predominance of this framework is hardly the result of happenstance;

rather, “the framework reﬂects years of dialogue among district and appellate courts

leading up to Hoﬀmann-La Roche and an embrace of the approach following that

decision.” Clark, 68 F.4th at 1016 (White, J., dissenting in part). As outlined below, there



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are several persuasive reasons that courts choose to follow Lusardi, including applying

the “modest” burden on plaintiﬀs at the conditional certiﬁcation step.

   A.      The Lusardi framework ensures the preservation of claims, sensibly defers
           making critical fact-bound determinations that could cut out potential
           plaintiﬀs until a later stage in the litigation on a fuller record, and
           promotes judicial economy.

        First, as the Supreme Court acknowledged in Hoﬀmann-La Roche, timely notice

and early intervention are essential to enforcement of the ADEA and the FLSA, which,

unlike Rule 23, are remedial statutes. 493 U.S. at 170. Early notice is especially critical in

the context of FLSA actions, since a plaintiﬀ’s ﬁling of an FLSA collective action does

not toll the Act’s statute of limitations for similarly situated employees who later opt in.

See 29 U.S.C. § 256(b). Consequently, a district court’s determination about the extent of

discovery required prior to conditional certiﬁcation will ultimately determine how

many claims expire before ever receiving notice. As Eli Lilly points out, this concern is

less present in ADEA collective actions within the Seventh Circuit, as this Court has

held that “piggybacking” is permitted for ADEA opt-in plaintiﬀs, so long as there is a

timely ﬁled EEOC charge that alleges class-wide discrimination. See Anderson v.

Montgomery Ward & Co., 852 F.2d 1008, 1016 (7th Cir. 1988). But the concern of claims

expiring is critical in the FLSA context. Because the ADEA and the FLSA have identical

collective action procedures (and because it would be contrary to congressional intent to

create two separate standards between the statutes), the Court cannot simply ignore the

impact a decision in this case would have on the FLSA.

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       Second, the “modest” burden for plaintiﬀs at conditional certiﬁcation is essential

in enforcing the ADEA and FLSA because it lowers the risk of improperly excluding

similarly situated employees. As the Sixth Circuit acknowledged in Clark when

diverging from the Fifth Circuit’s standard, it is diﬃcult for a district court to

“conclusively make ‘similarly situated’ determinations as to employees who are in no

way present in the case.” 68 F.4th at 1010. The court explained that determinations

regarding whether employees are “similarly situated” tend to be highly fact-bound,

“meaning they depend on the speciﬁc facts pertaining to those employees.” Id.

Furthermore, the employees themselves are likely to have evidence of similarity (or

dissimilarity) that may conﬂict with an employer’s records. Id. Therefore, weighing

competing evidence from plaintiﬀs and defendants is akin to making a decision in a

“he-said-she-said situation,” which is imprudent at the notice stage of litigation where

the record is extremely limited and may not accurately reﬂect the evidence as a whole.

See Heath, 215 F. Supp. 3d at 852; Escobar v. Whiteside Const. Corp., 2008 WL 3915715, at *4

(N.D. Cal. Aug. 21, 2008).

       Accordingly, courts presiding over ADEA claims—including the district court in

Sperling, which was aﬃrmed by the Supreme Court—apply a lenient standard at step

one, since making “similarly situated” determinations and cutting individuals out of the

proposed collective based on limited information risks improper exclusion. See Sperling,

118 F.R.D. at 406 (“[T]o allow notice before the ‘similarly situated’ issue is decided


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would insure that all possible class members who are interested are present, and

thereby assure that the full ‘similarly situated’ decision is informed, eﬃciently reached,

and conclusive.”); Heath, 215 F. Supp. 3d at 851 (“[A] lenient standard is used at the

notice-stage step because a court does not have much evidence at that point in the

proceedings—just the pleadings and any declarations submitted.”); Bouaphakeo v. Tyson

Foods, Inc., 564 F. Supp. 2d 870, 894–95 (N.D. Iowa 2008); Williams v. Sprint/United Mgmt.

Co., 222 F.R.D. 483, 487 (D. Kan. 2004). These courts have noted that the lenient standard

at step one is more equitable to potential plaintiﬀs and facilitates the remedial purpose

of the ADEA. See Sperling, 118 F.R.D. at 406; Behr v. AADG, Inc., 136 F. Supp. 3d 1012,

1018 (N.D. Iowa 2015); Bouaphakeo, 564 F. Supp. 2d at 894–95.

       Rigorously screening potential plaintiﬀs to make “similarly situated”

determinations on a limited record is particularly misguided in an ADEA action. At the

outset, it is worth noting that trial courts must exercise caution in making “similarly

situated” determinations when the underlying claims are discrimination—even at the

decertiﬁcation stage, with a more complete factual record. ADEA plaintiﬀs alleging a

pattern or practice of discrimination must ﬁrst establish that unlawful discrimination

had been a regular procedure or policy followed by an employer, and then individual

relief may be granted upon a ﬁnding that each individual plaintiﬀ was a victim of the

discriminatory practice. Thiessen, 267 F.3d at 1106 (citing Int’l Bhd. of Teamsters v. United

States, 431 U.S. 324, 360–61 (1977)). As the Tenth Circuit in Thiessen explained, if a trial


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court makes ﬁndings on whether a discriminatory policy did, in fact, impact the

employment decisions aﬀecting individual plaintiﬀs under the guise of determining

whether plaintiﬀs are “similarly situated,” it essentially “deprive[s] plaintiﬀs of their

right to have the issues decided by a jury, or to at least have the court determine, under

summary judgment standards, whether there was suﬃcient evidence to send the issue

to the jury.” Id. at 1106–07. Making these individualized merits determinations is

especially misplaced at the conditional certiﬁcation stage, where potential opt-in

plaintiﬀs with individualized experiences of potential discrimination are not provided

the opportunity to make their cases or present their own evidence.

       In any event, engaging in these individualized, merits-overlapping inquiries is

hardly necessary to properly ascertain the scope of a collective in an ADEA action. The

ADEA is an employment discrimination cause of action, and a successful plaintiﬀ must,

as a preliminary matter, establish that an “adverse employment action” took place.

Barton v. Zimmer, Inc., 662 F.3d 448, 453–54 (7th Cir. 2011). Therefore, where a plaintiﬀ

alleges a companywide policy or practice of age discrimination, ascertaining the scope

of potential plaintiﬀs who should receive notice does not require signiﬁcant discovery.

Deﬁnitionally, only employees over the age of 40 who were subject to an adverse

employment action, like the denial of a promotion, could be potential plaintiﬀs. Indeed,

courts proceeding over ADEA claims have found that deﬁning the collective of potential

plaintiﬀs to receive notice by referencing a speciﬁc adverse employment action


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eﬀectively identiﬁes “similarly situated” employees at step one and ameliorates the risk

of overbroad notice. See Donofrio v. IKEA US Retail, LLC, 2019 WL 9698597, at *5 (E.D.

Pa. May 15, 2019) (ﬁnding suﬃciently narrow a proposed class of “only current IKEA

employees who were denied promotions”); Hyman v. First Union Corp., 982 F. Supp. 1, 4

(D.D.C. 1997) (“Weighing very strongly in favor of a collective action is the fact that the

challenged employment practice, termination, is the same for each of the members.”).

       As courts have generally held at the conditional certiﬁcation stage, individually

scrutinizing the discrimination claims of potential plaintiﬀs any further would require

merits-based determinations that are better suited for later stages in the litigation. See

Heath, 215 F. Supp. 3d at 854–55; Behr, 136 F. Supp. 3d at 1020; Jackson v. N.Y. Tel. Co., 163

F.R.D. 429, 432 (S.D.N.Y. 1995) (ﬁnding that the defendant’s arguments that a policy did

not disproportionately aﬀect older workers or have a discriminatory eﬀect were

“directed to the merits of the plaintiﬀs’ claim”); Donofrio, 2019 WL 9698597, at *4. In

sum, the “modest” burden that Eli Lilly decries ensures that courts are not excluding

potential plaintiﬀs based on an evidentiary record that may be lopsided or incomplete.

       And third, the early notice facilitated by the Lusardi framework confers the

beneﬁts of judicial economy explicitly cited by the Supreme Court in Hoﬀmann-La Roche:

it “enables district courts to ‘ascertain[] the contours of the action at the outset’; ‘avoid[]

a multiplicity of duplicative suits’; set deadlines for opt-in consents and other decisions

‘to expedite disposition of the action’; and prevent ‘abuse’ of the collective mechanism


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by plaintiﬀs, such as through ‘misleading’ communications.” Clark, 68 F.4th at 1017

(White, J., dissenting in part) (quoting Hoﬀmann-La Roche, 493 U.S. at 171–72). Early

court intervention also prevents abuse of the collective mechanism by defendants, who

may, for example, attempt to pick oﬀ potential plaintiﬀs through settlement oﬀers that

are misleading. See, e.g., Weckesser v. Knight Enters. S.E., LLC, 392 F. Supp. 3d 631, 638

(D.S.C. 2019) (ﬁnding that a defendant’s communications to potential FLSA claimants,

which included settlement oﬀers, “[were] abusive in that [they] threaten[ed] the proper

functioning of the litigation”); Li v. A Perfect Day Franchise, Inc., 270 F.R.D. 509, 518 (N.D.

Cal. 2010) (noting instance in which a defendant obtained opt-out forms from its

employees through coercive one-on-one meetings).

   B.      Eli Lilly’s speculative arguments against the Lusardi framework lack
           support.

        Notwithstanding the Supreme Court’s directive in Hoﬀmann-La Roche that

“skilled trial judges” should be entrusted due to their “signiﬁcant insights . . .

[regarding] the wisdom and necessity for early judicial intervention in the management

of litigation,” 493 U.S. at 171–72, Eli Lilly contends that trial courts who choose to follow

the most widely adopted approach for managing collective actions are wrong. In so

arguing, Eli Lilly relies on unsupported speculations that in eﬀect aim to undermine

valuable regulations that protect workers.

        For instance, Eli Lilly ﬁrst argues that the Lusardi approach has resulted in an

epidemic of overinclusive notice, which in turn wastes judicial resources managing

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cases that are ultimately decertiﬁed. At the outset, it is worth noting that this Court has

already rejected the same argument about the “irreversible harm” of conditional

certiﬁcation; in New Albertsons, this Court opined that the burdens on defendants whose

employees are provided notice are “not substantially diﬀerent from discovery burdens

or other incidental burdens of civil litigation.” 2021 WL 4028428, at *2.

       And, in any event, the data simply does not bear out Eli Lilly’s theoretical

arguments regarding the perils of the Lusardi approach. As Judge White noted in her

separate opinion in Clark, plaintiﬀs had an 81% success rate in 2021 bringing conditional

certiﬁcation motions under the FLSA; this rate seems reasonable considering the 72%

success rate for certiﬁcation of employment-discrimination class actions under Rule 23

during the same year. 68 F.4th at 1018 (White, J., dissenting in part) (citing Seyfarth,

18th Annual Workplace Class Action Litigation Report 9–10, 13, 43 (2022),

https://www.content.seyfarth.com/publications/Workplace-Class-Action-Report-2022/). 4

This success rate is actually lower when considering that courts frequently grant these

motions in part and issue notice based on narrower parameters than those proposed by

plaintiﬀs. Id.




4      Plaintiﬀ references FLSA cases, rather than ADEA cases, in this dataset because
there is a much larger sample of FLSA cases from which to draw conclusions. This
dataset contains only six federal decisions on ADEA conditional certiﬁcation during
2021—plaintiﬀs were successful in each instance. See Seyfarth, supra, at 71–74. In
contrast, there were 279 decisions on FLSA conditional certiﬁcation issued during the
same period. See id. at 9.
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       Nor does the data bear out Eli Lilly’s argument that decertiﬁcation at step two is

“incredibly common.” Eli Lilly Br. at 32. Instead, data from 2021 indicates that a small

fraction of cases make it to the decertiﬁcation stage, and that decertiﬁcation motions

have evenly split results. See Seyfarth, supra, at 9 (noting that 10 FLSA decertiﬁcation

motions were granted in 2021, while 9 decertiﬁcation motions were denied, and that

federal courts ruled on 279 FLSA motions for conditional certiﬁcation during the same

period). 5

       Rather than portraying a crisis of ineﬃciency and waste, the data indicates that

the predominant Lusardi approach is operating as intended. The conditional

certiﬁcation stage, though lenient, is not toothless—plaintiﬀs still lose on these motions

(in the FLSA context) about one-ﬁfth of the time. See Seyfarth, supra, at 9–10. This is

evident within the Seventh Circuit, where district courts regularly deny motions for

conditional certiﬁcation where plaintiﬀs fail to show that there exist similarly situated

employees or a common policy or plan that violates the law. See, e.g., Williams, 223 F.

Supp. 3d at 785; Tom v. Generac Power Sys., Inc., 2018 WL 3696607, at *6 (E.D. Wis. Aug. 3,

2018); Walker v. Health & Hosp. Corp. of Marion Cnty., 2016 WL 7179370, at *12 (S.D. Ind.




5      As the Seyfarth report indicates, the data from 2021 on FLSA conditional
certiﬁcation and decertiﬁcation is consistent with data from prior years. See Seyfarth,
supra, at 11 (noting that, in prior years plaintiﬀs had succeeded on conditional
certiﬁcation motions generally about 80% of the time, whereas defendants had
succeeded on decertiﬁcation motions generally about 50-60% of the time).
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Dec. 9, 2016); Placide v. Roadrunner Transp. Servs. Inc., 2022 WL 3682912, at *3 (E.D. Wis.

Aug. 25, 2022).

       For those cases that make it past Lusardi step one, settlement before the close of

discovery is common. 6 But in cases where defendants decide to mount a challenge to

certiﬁcation at step two, the success rate is about 50%. This evenhanded rate indicates

that (1) conditional certiﬁcation orders are often reaﬃrmed (demonstrating that Eli

Lilly’s claim of an epidemic of overinclusive notice is overstated), but that (2) employers

still have meaningful redress in the event that the preliminary ﬁndings at the

conditional certiﬁcation stage ultimately are not borne out by a fuller record. Therefore,

this Court should not be swayed by the apparition of a crisis of overinclusive notice,

which Eli Lilly bases on cherrypicked cases and a Fifth Circuit opinion from 1995. See

Mooney v. Aramco Servs. Co., 54 F.3d 1207, 1214 (5th Cir. 1995). The reality is that the

Lusardi method is largely facilitating resolutions and enforcement of important remedial

statutes, while providing employers with two meaningful bites at the apple to prevent

certiﬁcation.




6      As Judge White cautioned, the fact that a large amount of collective action
lawsuits settle is hardly cause for concern. For one thing, the Court should be wary of
mistaking remedial success for a problem, especially considering that Congress has not
opted to change the collective action mechanism since Hoﬀmann-La Roche. See Clark, 68
F.4th at 1017 (White, J., dissenting in part). “Additionally, it is not inherently signiﬁcant
or concerning that most FLSA cases settle after notiﬁcation; litigation in general
commonly settles between the early and ﬁnal stages of discovery.” Id. at 1018 (White, J.,
dissenting in part).
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       Eli Lilly’s second argument, that Lusardi creates improper settlement pressure, is

similarly underdeveloped and overstated. Like its prior argument, Eli Lilly’s claim

contains no data to support the notion that Lusardi is facilitating an unmitigated

settlement crisis for employers, relying instead on speculative fears of “letting plaintiﬀs

bring the pressure of hordes of employees to bear through initial stages of litigation.”

Eli Lilly Br. at 36. Again, the data hardly paints such a dramatic picture. As Judge White

noted in Clark, FLSA ﬁlings declined each year from 2016 to 2021, which does not

indicate that plaintiﬀs are abusing the collective action process to unduly put the

squeeze on their employers. See 68 F.4th at 1018 (White, J., dissenting in part) (citing

Seyfarth, supra, at 9–10). 7

       Plus, it is worth reiterating that “conditional certiﬁcation” merely provides notice

to employees, a decision that does not aﬀect the rights of the parties and is subject to

revision or reversal at later stages. See id. at 1018–19 (White, J., dissenting in part). And,

the roughly 50-50 success rate of decertiﬁcation motions—which does not include in the


7       Eli Lilly’s complaints about undue settlement pressure that employers face in
ADEA and FLSA actions is particularly ironic considering that the prevalence of
arbitration agreements in the employment context (which often include class and
collective action waivers) has resulted in chronic underenforcement of statutes that
protect employees. See Cynthia Estlund, The Black Hole of Mandatory Arbitration, 96 N.C.
L. Rev. 679, 708 (2018) (“[T]he data reviewed . . . show that [mandatory arbitration
agreements] function as a virtual death knell for most employment claims . . . .”);
Katherine V. W. Stone, Procedure, Substance, and Power: Collective Litigation and Arbitration
Under the Labor Law, 61 UCLA L. Rev. Discourse 164, 166 (2013) (“The law of arbitration
is not only displacing but is potentially eliminating the ability of . . . employees to bring
collective actions in any tribunal.”).
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sample plaintiﬀs’ strongest cases where the discovery process yielded evidence that

resulted in settlement—provides no indication that courts are regularly issuing

overbroad notice and forcing meritless lawsuits to settle. Rather, the fact that cases often

settle after Lusardi’s step one is largely the result of the discovery process facilitating

settlement—as is often the case in complex litigation.

       Plus, as Judge White noted in Clark, the risk of “in-terrorem settlements” is low in

the FLSA context, “because defendants are very likely to have superior information

about pay and hours compared with plaintiﬀs and so are more likely prepared to make

informed settlement decisions.” Id. at 1019 (White, J., dissenting in part). Moreover, Eli

Lilly critically ignores that courts in this Circuit frequently require that stipulated

settlements in an FLSA case must be approved by the court (or the Department of

Labor), which must consider whether the agreement “reﬂects a reasonable compromise

of disputed issues.” Burkholder v. City of Fort Wayne, 750 F. Supp. 2d 990, 994–95 (N.D.

Ind. 2010) (internal quotation omitted); Rambo v. Glob. Diversiﬁed, Inc., 2021 WL 262556,

at *1 (C.D. Ill. Jan. 26, 2021); Drummond v. Am. Fam. Mut. Ins., S.I., 2024 WL 3581649, at

*1 (W.D. Wis. July 30, 2024). Simply put, Eli Lilly’s speculation that the collective action

mechanism is being abused to coerce improper settlements lacks any foundation.

       Finally, Eli Lilly’s fear that providing notice “undermines the appearance of

judicial neutrality” similarly lacks support. In Hoﬀmann-La Roche, the Supreme Court

cautioned courts to “be scrupulous to respect judicial neutrality” when issuing notice.


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493 U.S. at 174. In context, though, the Supreme Court was providing guidance on the

content of notice provided by courts by cautioning that court-provided notice should

“avoid even the appearance of judicial endorsement of the merits of the action.” Id. To

that end, courts follow the Supreme Court’s guidance in Hoﬀmann-La Roche by issuing

notice that deﬁnes a collective and does not endorse the merits, include hypothetical

claims that others may bring, or encourage plaintiﬀs to join. See Clark, 68 F.4th at 1019

(White, J., dissenting in part). In fact, the Supreme Court in Hoﬀmann-La Roche adopted

quite the opposite position as Eli Lilly, ﬁnding that court involvement in the notice

process prevents abuse of the collective action structure. 493 U.S. at 171. Early court

intervention prevents both parties from providing potential claimants with misleading

notice and undermining the eﬃcacy of a collective action lawsuit.

                                      *       *      *

       At bottom, the Lusardi two-step approach strikes a balance that many courts have

found beneﬁcial. At step one, this approach ensures that similarly situated employees

are not improperly excluded from receiving notice, which furthers the remedial

purposes of the FLSA and the ADEA. Because the record at this stage is limited, and

because conditional certiﬁcation does not change the nature of the case in any event,

courts reasonably defer weighing evidence and err on the side of overbroad notice.

Indeed, the Supreme Court appeared to foresee and even endorse potentially overbroad

notice at step one by referring to notice being sent to “potential plaintiﬀs,” Hoﬀmann-La


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Roche, 493 U.S. at 169 (emphasis added), and by aﬃrming a district court decision that

found that “notice to absent class members need not await a conclusive ﬁnding of

‘similar situations,’” Sperling, 118 F.R.D. at 406.

       Later, with the beneﬁt of a fuller record that facilitates more accurate decision-

making, courts determine whether the opt-in plaintiﬀs are, in fact, similarly situated. At

this step, plaintiﬀs still bear the burden of showing that members of the collective action

are similarly situated, and the burden they face is higher. See Smith v. Pro. Transp. Inc.,

2018 WL 573098, at *8 (S.D. Ind. Jan. 26, 2018); Zavala v. Wal Mart Stores Inc., 691 F.3d

527, 537 (3d Cir. 2012); Morgan, 551 F.3d at 1261.

       Furthermore, even if the Lusardi approach is suboptimal in certain circumstances,

to hold that Lusardi is categorically unlawful would be to throw the baby out with the

bathwater. The Supreme Court explicitly declined to mandate a one-size-ﬁts-all process

for managing collective actions, leaving decisions regarding case management,

including notice, to the sound discretion of district courts—the experts on managing

cases. Courts in this circuit are free to modify the Lusardi approach as they see ﬁt, or to

adopt a diﬀerent approach entirely. Rather than handcuﬀ trial courts to a mandated

approach, this Court should heed Judge White’s warning that such a holding would

“thwart district courts in executing key case-management functions, such as

‘ascertain[ing] the contours of the action at the outset’ and ‘avoid[ing] a multiplicity of




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duplicative suits.’” See Clark, 68 F.4th at 1020 (White, J., dissenting in part) (quoting

Hoﬀmann-La Roche, 493 U.S. at 171–72).

IV.    The District Court Did Not Abuse Its Discretion in Adopting the Lusardi
       Approach in This Instance

       This case is paradigmatic of the beneﬁts of the Lusardi approach. Plaintiﬀ

Richards alleges that Eli Lilly engaged in systematic age discrimination, facilitated by

companywide policies that prioritized promoting young professionals at the expense of

older, more experienced employees. In support of her motion for conditional

certiﬁcation, she provided an aﬃdavit from a longtime manager at Eli Lilly who

directly witnessed the implementation of these policies from the top down. See A.31–35.

She also provided aﬃdavits from Eli Lilly employees throughout the country who faced

similar experiences of discrimination in promotion, indicating that these top-down

policies were implemented throughout the company. A.37–47.

       Because Richards alleges age discrimination in promotions speciﬁcally, this is a

case where the scope of “similarly situated” employees is readily ascertainable. The

“potential plaintiﬀs” in this action deﬁnitionally can only include employees over the

age of 40 who were denied a promotion for which they were qualiﬁed during the

relevant time period. And, this already narrow group of employees has been further

pared down by the parties’ stipulation that notice shall only be provided to employees

within Eli Lilly’s sales organization and brand marketing organization. ECF No. 135 at

1–2. Indeed, the focus on these speciﬁc organizations largely moots Eli Lilly’s concern

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about a proposed collective “sweep[ing] in thousands of Lilly employees across

geographies, departments, business units, positions, and supervisors.” Eli Lilly Br. at 12.

       Of course, ascertaining the proper scope of notice at the conditional certiﬁcation

stage sometimes may present practical diﬃculties. This is precisely the issue that the

Fifth Circuit faced in Swales; the “similarly situated” inquiry in the FLSA context in that

case was complicated by the fact that potential opt-ins had stark diﬀerences in their

contracts with the defendant, the amount of control they exerted over their work, and

their compensation arrangements. 985 F.3d at 442–43. Due to the “demonstrably

diﬀerent work experiences” of the potential plaintiﬀs, the Fifth Circuit found it diﬃcult

to determine without discovery whether the “economic-realities test,” which asks how

much control the employer had over its workers, could be applied on a collective basis.

Id. at 442. Therefore, the court concluded that Lusardi was a bad ﬁt, and that a

heightened standard would be preferable.

       But discarding Lusardi would be misguided here. As noted above, the fact that

Richards’s claims are limited to discrimination in promotions means that ascertaining

the proper scope of the collective for conditional certiﬁcation is far less complicated.

Deﬁning the class of opt-in plaintiﬀs to receive notice by referencing the same adverse

employment action eﬀectively ensures that only “similarly situated” employees will

receive notice. See Donofrio, 2019 WL 9698597, at *5; Hyman, 982 F. Supp. at 4; Andreana

v. Va. Beach City Pub. Sch., 2018 WL 2144151, at *3 (E.D. Va. May 9, 2018). While


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individualized diﬀerences in plaintiﬀs’ speciﬁc work duties and arrangements may

sometimes be salient in FLSA actions (like Swales), these diﬀerences have little relevance

here, where the defendant adopted companywide promotion preferences for younger,

less experienced employees.

       Plaintiﬀ further acknowledges that, at the conditional certiﬁcation stage,

overinclusive notice is a possibility. This is especially true in the context of litigating age

discrimination, a highly fact-bound claim that will invariably require reviewing the

circumstances of each individual older employee who was denied a promotion during

the relevant period. But requiring the court to weigh evidence, make merits rulings, or

apply a heightened evidentiary standard at the conditional certiﬁcation stage would

essentially be asking the court to prejudge the ADEA claims of potential opt-in plaintiﬀs

who are not before the court, without the beneﬁt of those plaintiﬀs being able to

provide evidence and tell their own sides of the story. Therefore, it is sensible to defer

these critical, merits-overlapping factual decisions to a later stage of the litigation on a

fuller record.

       Furthermore, even if the Court decides to apply a heightened evidentiary

standard, the district court’s grant of conditional certiﬁcation should still be aﬃrmed.

This is because Eli Lilly’s evidence submitted in response to Richards’s motion for

conditional certiﬁcation, even if considered at this stage, hardly moves the needle. In




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fact, the District Court below, though not required to do so, did review Eli Lilly’s

evidentiary showing and still granted conditional certiﬁcation.

       For instance, the District Court acknowledged that Eli Lilly provided as evidence

a declaration by a senior vice president, an internal website page describing job paths

and job levels, an excerpt of an April 2017 “People Strategy” presentation referenced in

the complaint, and a corresponding “Pre-Read” distributed in advance of the meeting.

See RSA.11 (summarizing evidence). As the District Court noted, Eli Lilly appeared to

be presenting this evidence in support of an argument that the 2017 Early Career

Professionals initiative “could not have served as the common plan, since it was focused

on hiring and advancement for entry-level positions, not manager-level positions like

Richards’, and had its last hiring goal set in ﬁscal year 2020.” Id. (internal record cites

omitted). The District Court found this argument unavailing, since Richards did not

argue that the Early Career Professionals initiative is the common or single plan in

promotions; rather, Richards pointed to this initiative as one element of Eli Lilly’s

overarching and nationwide plan to hire and promote younger employees over more

qualiﬁed older employees. RSA.11–12.

       The District Court was also not persuaded by Eli Lilly’s attempt to establish the

complexity of the company’s organizational structure and the variance in discretionary

policies used to evaluate employees for promotion. RSA.13. Richards’s claim, as

supported by the aﬃdavit from Mr. Sweeney, is that there was a companywide policy


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of promoting younger, less qualiﬁed employees over older, more qualiﬁed employees;

the collective is bound by this common policy, regardless of individual job functions

and the hiring criteria of the sought-after positions. Id. And, the fact that the aﬃants

supporting Richards’s motion had diﬀering roles and geographic locations supports her

allegation that there is an overarching plan that “thread[s] together instances of age bias

in promotion.” RSA.13.

       Eli Lilly’s attempts to poke holes in the aﬃdavits provided by Richards are

similarly uncompelling. For instance, Eli Lilly provided a self-serving aﬃdavit from

James Florence, who claims that he did not apply Early Career Professional

considerations when denying Richards a promotion. A.90. To accept this testimony as

true, giving it greater weight than Richards’s own aﬃdavit, would essentially be

reaching a he-said-she-said factual conclusion that prejudges Richards’s ADEA claim on

an extremely limited record. Eli Lilly also provided the testimony of an employee who

claims that Mr. Oluoch never applied for an open job posting from February 2022

through the present. A.94. But, as Mr. Oluoch explained in his aﬃdavit, employees in

his department did not have to submit formal applications to be considered for

promotion; instead, all team members were considered for each year for approximately

ﬁve available promotion slots. A.42. Plus, as the District Court noted, even if individual

aﬃants lacked adverse employment actions that occurred within the time period

covered by the deﬁnition of the collective, their testimony could still be competent


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evidence that Eli Lilly had a common policy or plan involving age discrimination.

RSA.7.

         Accordingly, even if this Court decides that a heightened evidentiary standard

for conditional certiﬁcation is warranted, aﬃrmance is still proper. The District Court

below reviewed Eli Lilly’s evidence and concluded that it did not eﬀectively counter

Richards’s evidentiary showing. The evidence provided by Richards—which includes

testimony from a current manager of Eli Lilly who observed, ﬁrst-hand, senior

leadership discriminating against older employees up for promotions, as well as

executives directing and incentivizing that discrimination—plainly satisﬁes a

heightened standard for issuing notice.

                                     CONCLUSION

         Per the Supreme Court’s decision in Hoﬀmann-La Roche, the District Court acted

well within its broad discretion in choosing to adopt the predominant Lusardi

framework. This Court should decline Eli Lilly’s invitation to leapfrog the Supreme

Court and mandate a uniform standard for courts to apply before issuing notice.




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  CERTIFICATE OF COMPLIANCE WITH FRAP RULE 32(a)(7), FRAP RULE 32(g),
                          AND CR 32(c)

       Pursuant to Federal Rules of Appellate Procedure 32(a)(7)(B) and Circuit Rule

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                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on November 27, 2024, I electronically ﬁled the

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are registered CM/ECF users and that service will be accomplished by the CM/ECF

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